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December 5, 2012

Hon. Thomas P. Griesa

United States District Judge PRE-SENTENCE SUBMISSION
500 Pearl Street

New York, New York 10007

Re: United States v. Johnny Nunez- Garcia

10 Cr. 367 (TPG)
Dear Judge Griesa,

My client, Johnny Nunez-Garcia (“Johnny”) was tried before you on January 17" 2012, and
convicted of the crimes of conspiracy to traffic in narcotics (crack/cocaine) and weapons
possession in furtherance of that conspiracy.

I am submitting this letter arguing law, facts and mitigation to assist you in determining what
sentence should be imposed that tempers punishment with mercy, and to detail all the mitigating
events of my client’s history.

He was young when he committed these crimes—a teenager. His childhood was marred by
poverty, lack of parental care, and he had serious, untreated cognitive deficits that impacted his
development and maturity. Finally, when he came to this country, he was placed with a father he
barely knew who believed physical punishment was the only way to instill obedience.

Already, the mandatory minimum sentence in this case is stiff—10 years based on the
quantity of narcotics sold; and either five, seven or ten years consecutive for the weapons
conviction depending on whether Your Honor finds J ohnny “possessed,” “brandished,” or

“discharged” a weapon in furtherance of the drug conspiracy.
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A further complication is that Johnny has already been sentenced to a five-year State jail term
for possessing the same weapons involved in this conspiracy. Because he was arrested first by
the State, the Bureau of Prisons (“BOP”) will not credit his time in state- court incarceration, or
the time he’s been in federal prison on “loan” from the State to face these charges.!_ While Your
Honor can impose this sentence prospectively to run concurrent with Johnny’s un-discharged
State term, two years of Johnny’s State time for the same weapons will not be credited to this

case.

Counsel asks Your Honor consider the above arguments in determining the appropriate
sentence.

While Johnny must serve a 10-year minimum mandatory sentence because of the quantity of
drugs the jury found he participated in selling, it is the Court that must determine how much time
he must serve for the 924(c) conviction.

Counsel urges the court find that Johnny neither brandished (seven-year sentence) or
discharged (10-year sentence) a gun in furtherance of the conspiracy, and impose a consecutive
sentence of five years for that count.

I. The Government Did Not Prove Johnny Brandished or Discharged a Weapon in
Furtherance of the Conspiracy
Overview:

This case involved a multi-defendant, alleged drug-gang which controlled a particular part of
1151 Elder Avenue, Bronx. The leader of the gang, Javier Lopez (aka Twin), worked with
Johnny Garcia and others to sell crack-cocaine. Twin was widely known as the head of the
group and according to testimony, bagged and distributed drugs; organized work schedules,

collected money and parsed out earnings. He also ordered the ‘hit’ against Christopher Torres (a

 

‘ Michael Tafelski, Regional Counsel, BOP, Northeast Region
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cooperating witness), which was carried out by a different cooperating witness, Kelvin Vasquez.
(Twin pleaded guilty and is yet to be sentenced.)

The bulk of the testimony at trial came from three cooperating witnesses: Kelvin Vasquez
(aka Cacaito), Christopher Torres (aka Jon Jon), and Eddie Velez. Each belonged to a different
drug gang, had long criminal histories and multiple prior acts of violence. Each benefitted from
SK letters written by the government.

Witnesses testified to four major incidents during which Johnny allegedly brandished or fired
a weapon. It is counsel’s position that either there was insufficient corroboration to believe these
incidents occurred, or if they did, they did not occur in furtherance of the crime of narcotics
trafficking.
1) Johnny fired a weapon toward a group of women outside 1151 Elder in December, 2009,
because the women, by loudly arguing, were “heating up the spot.” [Transcript(“Tr”) p. 83, 7-
11].
2) Johnny allegedly accompanied co-defendant, Mario Carrera, to the back of the Elder building
when Sean Daniels (referred to in testimony as the ‘gay guy’) was shot by Carrera.
3) Johnny allegedly shot toward Christopher Torres while walking down Wheeler Ave. in the
Summer of 2009.
4) Johnny and Twin fired weapons from the roof of 1151 Elder on New Year’s Eve.

Counsel will examine each incident in turn.
1) Firing a Weapon Toward a Group of Women

According to Kelvin Vasquez, a group of women entered 1151 Elder in December, 2009, and
began arguing with defendant and others in the apartment. After insisting they leave, the

argument spilled into the street. Garcia allegedly fired a weapon causing a bullet to graze the leg
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of Natalie Santana. Police investigated; Johnny was arrested, but charges were later dropped,
(allegedly by Johnny’s prompting). Santana suffered a minimal flesh wound.

Although Vasquez testified that Johnny told him he shot at the girls because they were
“heating up the spot,” Detective Rodney Goulding, the supervising officer at the scene, stated at
trial that he did not believe the encounter to have had anything to do with narcotics activity. (Tr.
211.) Goulding knew the area well and the group. Part of his job was to investigate alleged
narcotics activities. Certainly, if he believed the shooting had anything to do with narcotics
trafficking, he would have said so at trial.

Goulding is a far more credible witness that Vasquez, a cooperator, who never told
prosecutors the motive for the shooting involved drugs until deep into his proffer sessions, just
before he pleaded guilty knowing he would be testifying against Johnny. (Tr.144-145, 21 et
seq.)

Furthermore, it’s simply illogical that someone worried about making the “spot hot” ~ or
interested in keeping police away from the building-- would fire shots, thus more quickly
drawing police attention. A more reasonable conclusion, equally supported by the evidence, is
that Garcia fired the weapon, not in furtherance of any drug conspiracy, but as an impulsive act
of anger.

2) Accompanying Mario Carrera during the shooting of Sean Daniels

Sean Daniels, (“the gay guy”), was shot on at 1160 Wheeler, in February, 2010. It’s the
government’s position that Daniels was shot because he lived in the building behind 1151 Elder,
where rival drug sold drugs. According to testimony, the shooting appears to have been a
purposeful act, aimed particularly at Daniels (unlike the random shootings testified to, such as

Twin randomly shooting out the back bathroom window.)
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It is interesting to note that the victim, Sean Daniels, was referred to only as “the gay guy,” at
trial and that according to prosecution witnesses, he had nothing to do with the drug activity on
the block. No evidence was presented to connect this shooting to drug activity.

Because Daniels was not part of any drug war and because this shooting was arguably not
random, it’s merely conjecture that the Daniels’ shooting had anything to do with drug
trafficking. The shooting could have been, just as logically, for reasons unrelated to drugs.
Without condoning any of the reasons that might have caused the shooting, it could have just as
reasonably been based on gay bashing, which may explain why Daniels was only known and
referred to by neighborhood drug dealers (Vasquez, Torres, and Valez) as the “gay guy.”

Because the evidence is insufficient to conclude the shooting occurred in furtherance of the
drug conspiracy, it should not be used to enhance Johnny’s sentence.

In U.S. v. Munoz, 143 F.3" 632 (1998, 2" Cir.) the Court stated that the “[u]se of a firearm
‘in relation to’ a drug trafficking crime requires the government demonstrate a nexus between the
firearm and the underlying drug trafficking crime.” United States v. Melendez, 60 F.3d 41, 46 (2d
Cir. 1995), citing Smith v. United States, 508 U.S. 223, 237-38, 113 S. Ct. 2050, 2058-59, 124
L.Ed.2d 138 (1993). The firearm must have “some purpose or effect with respect to the drug
trafficking crime.” Smith, 508 U.S. at 238, 113 S. Ct. at 2059.

In this instance, the Government has proven no such nexus.

Furthermore, counsel challenges whether enough evidence was presented to conclude that
Johnny had anything to do with the shooting at all. Eddie Velez put Johnny at the scene,
allegedly standing on a rooftop after the shots were fired. Yet Velez, when asked by police on

the night of the shooting if he saw anyone he recognized, said he did not. (Tr. 439, 2-6). The
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alleged recognition of Johnny came only after Velez knew he would be cooperating against
Johnny.

Even if credited that Velez identified Johnny not purely out of self-interest, but believing it to
have been Johnny (putting aside the fact that he failed to report that to police), the reliability of
the identification must be challenged. The events occurred quickly in the dimness of backyard
lighting (Tr. 436, 6-9), with Velez scared for the safety of his wife and child. All of these

factors—quickness of event, fear, and minimal lighting—play major roles in undermining the

accuracy of identifications.’

3. Shooting Towards Christopher Torres

Christopher Torres contends that Johnny shot toward him in the Summer of 2009 near the
corner of Wheeler and Westchester. On another occasion he said he saw or heard about J ohnny
and Carlos Carrera running up Wheeler shooting guns. There is no independent corroboration of
these events.

Torres didn’t know Johnny well. Torres was a member of the Wheeler Boys drug-gang, a
rival, drug gang that worked near Elder. He had little connection with events relating to
Johnny’s trial except to provide general background about the gangs in the area and testify about
the above-mentioned gun discharge, as well as his own shooting which occurred after J ohnny
was in jail and thus no longer part of the conspiracy.

Torres’ testimony must be challenged based on his bias (self-interest in producing information

against Johnny so that he would be called to testify); and on his ability to relate and recall events

accurately.

 

? While Kelvin Vasquez testified that Johnny bragged to him that he accompanied Mario Carrera when Carrera shot
Daniels, first, this information was not provided till late in proffer sessions; second, Vasquez’s credibility must be
strictly scrutinized because of his own criminal history and prior acts of dishonesty—such as lying to parole officers
about his own continuing criminal acts when he was obliged to commit no new crimes. Finally, even if believed, it
was Mario Carrerra who shot Daniels and not Johnny.
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Torres testified that he knew Twin (the leader of the Elder gang) well. He had seen him
dozens of times, but was less familiar with Johnny. [He’d only seen him a total of five times.
(Tr. 283, 6-9).] In describing events which led to his own shooting in February, 2010, he told
police he was sure he was shot by Twin—a face he’d easily recognize. Yet, Torres was wrong!
Vasquez admitted on the stand that it was he who shot Torres, not Twin. Nonetheless, Torres

told police he was certain it was Twin.

Stipulation (p. 585): “If called to testify, NYPD Det. Cliff Acosta would testify that on Feb. 26",
2010, he interviewed Torres at the 43 Pct. and that Torres told Det. Acosta the following:
“While in the hallway, Torres heard a knock at the door. As Torres got closer, he saw that
it was Twin from Elder. Torres then saw Twin put a revolver to the glass and start

shooting. Torres knew Twin from Elder and had seen him approximately 15 to 20 times in
the last two months.”

Through this mistake, it’s clear that Torres either has poor capabilities of accurately recalling
events, or that he is easily misled by what he hears from others, (thus the long questioning about
this during cross-examination), and assumes “word on the street” is true and adopts it as his own.

Torres’ testimony that he is sure he saw Johnny shooting down Wheeler is also suspect.
Without further corroboration, police reports, or witnesses, and specifically with the lessoned
exposure Torres had to Johnny (he saw him only five times in his life, Tr. 283, 6-9), and the
suspect nature of his own ability to accurately recall faces, the government has failed to prove it
was Johnny who discharged a weapon that night. None of these events was ever reported to
police.

4. Johnny and Twin fired weapons from the roof of 1151 Elder on New Year’s Eve.

Testimony was offered that on December 31, 2009, Johnny and Twin fired weapons from the

roof of 1151 Elder. No testimony was offered to link the discharge of these firearms to anything

other than a New Year’s Eve celebration. In fact, according to their own witness, Kelvin
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Vasquez: “That day they fire[d] shots because it was the arrival of the New Year.” (Tr.137, 13-

16.)

Conclusion:

It is the government’s obligation to provide credible evidence that weapons were either
brandished or discharged by Johnny Garcia in furtherance of the drug conspiracy. There is no
doubt that members of the conspiracy had access to guns and guns were carried, but in order for
a 10-year consecutive sentence to be imposed, the Government must prove through clear and
convincing evidence that the brandishing or discharge of any weapons was in furtherance of the
conspiracy and not out of generic hooliganism, anger, one ups-manship, or foolhardiness.

For this reason, Counsel asks the court find the government failed to prove that guns were
brandished or discharged in furtherance, and impose a five-year, consecutive sentence to the 10-
year minimum mandatory sentence on the drug charge.

YJ. Johnny Garcia Has a Tragic History, Is a Young Man, and Can Be Reformed
Difficult Childhood, Learning Disabilities and Poverty:

Johnny was born in the Dominican Republic to a young mother with no financial means who
had been sexually abused. For part of his young life, they were homeless and subject to sleeping
wherever they could find room, sometimes sitting up. When they had meager shelter, it was
often without toilet facilities and subject to extremes of temperature.

During the years he attended school he had difficulty learning and sitting still. Because of the
family’s poverty, they were not able to afford to have him tested for cognitive deficits and

consequently Johnny remained untreated for potential learning disabilities.°

 

3 The facts regarding Johnny’s personal background recited herein are discussed at length in a detailed
forensic/psychological evaluation prepared by Dr. Liliana Rusansky Drob, Psy. D., Clinical and Forensic

Psychologist, available for the Court’s review upon request, and originally undertaken following Johnny’s attempts
to commit suicide while incarcerated.
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As a child he also suffered a variety of health issues including psoriasis, allergies,
bronchopneumonia, and intestinal infections which caused him difficulty eating. At age three,
his skin turned black and he was hospitalized for a month. At age five he contracted tetanus and

at age eight, meningitis.

He was small in stature and weight and often picked on by peers and older boys. The family
(comprised of Johnny, his mother and sister) had few resources, clothes or food. Ata point in
his early pre-teens, Johnny was sexually molested by older boys. He carried these scars into later
years and became a young adult dependent on the approval and opinions of his friends. He

wanted to be looked up to and considered a man.
Transfer at Critical Developmental Age to the U.S. and Abusive Father

At age 14, he moved to the United States to begin living with his father who he barely knew.
Because he was fragile, emotionally and physically, (he slept in the same bed as his mother until
age 13), the sudden transplant to this country, where he didn’t speak the language, had no friends
and was thrust into living with a different family (the father had a new wife and children), was
traumatizing. He did poorly in school and found it difficult to sit still. (Dr. Drob believes Johnny
suffered from undiagnosed ADHD as well as other psychiatric illnesses including depression. *)
(He had been institutionalized in the Dominican Republic at age seven for a disorder he cannot
recall.) Johnny has continued to need psychiatric care after being imprisoned in J anuary 2010,
and is currently prescribed both anti-anxiety and anti-depression medication.

Johnny described his father as demanding and abusive. Johnny’s mother, in her letter to the

court, called the father “a drunk and a drug addict,” who mistreated J ohnny and frequently

 

* Children with untreated ADHD often suffer from low self-esteem and many of them turn to drugs as a form of self-
medication.
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punished the children for no reason. Johnny felt his father treated him differently than his
children with his new wife, providing Johnny few clothes and often hitting him in public.
Worse, Johnny’s father used violence to reprimand Johnny’s closest sibling, Johniris. (While
Johniris denied this abuse to probation when interviewed, she admitted it to counsel and stated
she was afraid to tell the truth to probation because she knew they would be speaking to her
father and feared further repercussions.)

In Ninth grade, Johnny attended Bronx International High School and was placed in Special
Education courses. He found it difficult to concentrate and was labeled ‘impulsive.’ Again, his
probable ADHD was not diagnosed or treated.

His relationship with his father worsened. Often Johnny intervened when his sister was hit. At
one point when Johniris became pregnant, Johnny insisted his father permit her to remain in the
U.S. so that the child could be American. Instead the father sent her back to the Dominican
Republic, where the child was born and still lives, while Johniris returned to the U.S. Ultimately
these differences led him to leaving his father’s home.

Johnny and Johniris moved in with their uncle, Silvio Garcia Rosa; but with nine people living
in a two-bedroom apartment, and the continued beatings by Johnny’s father when he came to
visit, Johnny soon left and began living in the street, on subways and with friends. He found
work throughout this period in various part-time jobs including washing and parking cars, at
McDonalds, as a mechanic, and in construction.

Need to Belong
Johnny knew his co-defendants from the street and looked up to Javier Lopez (“Twin”) in

particular. They became a group of orphan kids—all of approximately the same young age who,

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for various reasons, left their homes, or had no homes, and sought the comfort of each other for

company and protection.
The Real Leader of 1151 Elder was “Twin”

While it is the government’s contention that J ohnny was a co-leader in the conspiracy,
evidence shows the opposite. All of the government’s three witnesses described Twin as the
leader. He organized the workers, procured the drugs, managed their packaging, collected the
monies at the end of shifts and re-upped on supplies from his own sister.

Tellingly, when Johnny was put in jail on Jan. 4", 2010, Twin’s drug-selling business didn’t
miss a beat. The others, without Johnny, moved from the apartment at 1151 Elder and began
operating elsewhere obtaining additional weapons, drugs and clientele. (Of the drug sales caught
on video, all relate to this period after Johnny left the conspiracy.)

If Johnny was truly the co-leader of the group, it is illogical to believe the conspiracy could
have re-grouped so quickly and flawlessly in his absence.

While Twin and Johnny were friends, Johnny was not seen selling drugs by witnesses except
Vasquez, and the one proved act of weapon’s discharge in furtherance of the conspiracy—the
shooting of Christopher Torres, a rival drug seller, was ordered by Twin, after Johnny was
already in jail. Johnny had nothing to do with this shooting.

Twin did not need Johnny to co-manage the organization and the putative proof of it presented
at trial-- the generalizations of cooperators who alternately referred to Johnny as just another
member of the crew and as the co-leader-- belies the government’s contention that he was a co-
manager. (It’s interesting to note that Christopher Torres, “Jon Jon,” referred to himself in
testimony as only a ‘worker’, while word in the street and from the other co-operating witness,

Eddie Velez, was that Torres was a ‘manager.’ [“Jon Jon basically took care of everything.”

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Velez testimony, p.469, line 10.] This point illustrates that perceptions of people’s roles in drug
organizations are not always accurate, and where the number of additional years a young man
must serve in jail rides on such a determination, it is imperative the government prove their
position with more empirical evidence than the hearsay of cooperators.

During trial testimony it was also revealed that Twin shot at another witness- Eddie Velez
(Velez testimony, p. 452), in April, 2010, after Johnny was in jail. Twin clearly was the master-
mind behind the “Elder Street Gang” and played more of a hands-on role. Although he pleaded
guilty in this case almost a full year ago, he is yet to be sentenced. Whatever sentence the court
determines is just for Johnny should be less severe than what it issues Twin. Twin clearly headed
the organization both before and after Johnny’s incarceration, fired shots at Velez, and ordered
the murder of a man, Christopher Torres. (Thankfully, Torres was only injured.) In that the court
must consider the comparative sentencing of others in the conspiracy, counsel respectfully

submits that because Johnny’s role was lesser than Twin’s, he should be sentenced to a lesser

term of incarceration.

Ill. Defendant Challenges the Following Points in the Pre-Sentence Report

In referencing alleged acts of firearm discharge by Johnny, defendant denies running down
Wheeler Avenue, firing at the Wheeler Boys. (PSR, p.6, graph 27). He further denies being with
Carlos Carrera when Carrera shot Sean Daniels, “the gay guy.” (p.6, graphs 28, 29.)

The shooting incident referred to in graph 30, page 6, had nothing to do with drug trafficking

and arose from a dispute among the women and their relationship with Johnny.

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Graph 46, p.8, incorrectly states that J ohnny was arrested on May 5, 2010. Johnny was
arrested on January 5, 2010, and was imprisoned (either in State or Federal custody) since that
time.

In terms of Victim Impact, p. 8, no one was hurt in any alleged shooting on Wheeler Avenue,
graph 49.

In the Dec. 2009 incident, Natalie Santana suffered a superficial wound for which she refused
hospital treatment, graph 50.

Johnny denies ever making threatening comments to co-defendants about the cooperating
witness and counsel urges the court to be skeptical about the truth of this allegation. Kelvin
Vasquez, the primary cooperator who stood to gain or lose the most from his testimony, never
told prosecutors such threats were made until significant time passed after the alleged threats
were made, The threats allegedly occurred in the courthouse holding cells on the August 30
court adjourn date. Yet, when Vasquez met with prosecutors in a proffer session on Oct. 14,
2011, he failed to mention the supposed threats. Not until a subsequent meeting in November
2011, were the alleged threats mentioned. (Tr. 148-149.) Clearly had the threat occurred in
August, Vasquez or his attorney would have immediately, or at the very least, at the very next
proffer session, told prosecutors.

Most of the information in the PSR is cumulative in that it relates to events of all the co-
defendants, many of which occurred either without Johnny’s participation or after he was
incarcerated and, therefore, no longer a part of the conspiracy. (See graphs 21-26; 31-36; 3-42.)
Defense counsel reminds the court that all of the video-taped buys conducted from J anuary

through April occurred after Johnny was in jail.

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In terms of the Offense Level Computation counsel objects to the base level attributed by the
government—at least 2.8 kilos but less than 8.4 kilos for crack. The jury, after being asked to
determine what amount of drugs was sold, determined that more than 280 grams of crack was

involved in the conspiracy.

It is counsel’s position that insufficient evidence was produced to justify the amount probation
claims-- between 2.8 and 8.4 kilos.

According to the Government’s witness, Kelvin Vasquez, (the only witness who testified to
being part of the Elder Street gang), in the five months he was involved in the conspiracy, the
group sold approximately 80 to 90 grams of crack every week to 10 days. (Tr. p. 26, line 15 et
seq. to p. 50.) Assuming 90 grams of crack were sold every 10 days over a five-month period
(150 days), the gram total would be 1,350 grams sold. (1.35Kilos)(90 times 15). This amount
brings the guidelines to a level 34 instead of 36. (2D2.1(c)(3)[More than 840 grams and less that
2.8 kilos.] It’s uncertain whether the five months Vasquez testified to include the period Johnny
was incarcerated. Vasquez was not arrested until April, 2010, while Johnny was arrested in
January. Assuming the period included four of the five months Johnny was in jail (and thus out
of the conspiracy), the weight amount should be even lower.

Johnny denies being an organizer or leader of the offense (see all arguments above), and
therefore disputes adding an additional 4 points for this alleged conduct. (graph 59). This also
impacts graph 57—“using a person less than 18 years of age.” This enhancement only applies if
Johnny is assigned an “aggravating role” (such as organizer or leader of the criminal activity),
challenged in the paragraph above.

Finally, because he made no threatening comments while in the cell block awaiting a court

appearance, he should not be assessed the additional two points here. (graph 60)

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IV. Johnny Suffers Psychological Disabilities; Has Strong Family Support and Can Be
Rehabilitated

Results of the forensic psychological evaluation done on October 30", 2011, following
Johnny’s second suicide attempt, conclude that Johnny was at high-risk for developing anti-
social behaviors due to a combination of his learning disabilities, hyperactivity, violence at
home, and physical ailments.° The trauma he suffered in being estranged from his mother (who
now lives in Argentina and works in a Laundromat) cannot be underestimated.

He bounced between families and countries, never getting the attention he needed for his
cognitive deficits and psychological problems. Following testing by Dr. Drob, it was determined
that Johnny’s IQ is 75, “the lowest fifth percentile in comparison to similarly-aged peers, and
representative of Borderline range of intellectual functioning.”

In particular his score of 67 on the Perceptual Reasoning Index is deficient and is “suggestive
of serious deficits in the capacities for perceptual organization and non-verbal reasoning.”
“Taken together, the defendant’s poor performance on the Perceptual Reasoning and Working
Memory Indices are suggestive of a significant learning disability that likely impacted negatively
on Mr. Garcia’s academic performance and helps explain his failure to achieve master in English
despite having been in the U.S. since age 13.”° This also suggests deficits in non-verbal
reasoning and impulse control.

Drob concluded that Johnny developed a “defensive narcissism” as a means of coping with
his poor self-image and a vulnerability to being manipulated by those around him.

In her conclusion she writes that “Mr. Garcia is a cognitively, emotionally and socially

impaired 19-year-old.” The interesting contrast about his testing is that he tested high in verbal

 

° Drob report.
° Drob report.

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comprehension and processing speed leading her to conclude that, in the proper circumstances,
he could eventually “find a productive and gratifying occupation and future.”

Johnny’s family supports him in spite of his errors. He is loved by many and, in turn, loves his
family deeply. In letters attached to this report, Johnny is noted to be ‘loving, friendly and
tender.” (His sister, Johniris.) His friends and family uniformly note that he is hard-working, but
“still a boy without much experience.” (Grandmother, Melania Nunez-Diaz.) His cousins, aunts
and grandmother in the Dominican Republic miss him, and write the court that they love Johnny
dearly, and beg for leniency.

Johnny has a child who he helped take care of when out of jail and provided support. He looks
forward to someday reuniting with his child and returning to work as a mechanic.

While in jail he completed a drug-dependency class as well as a parenting course. Although he
spent time in the Segregated Housing Unit (SHU), these occasions most often arose in the
context of adapting to life in prison, particularly as a small statured, younger man confronted
with men older, bigger and stronger.

Credit for the time he spent in State Prison

When Johnny was first arrested in January, 2010, he spent eight months in Riker’s Island
awaiting trial on a gun possession charge—the same guns the Government used to prove its case
here. Ultimately he was found guilty and sentenced to five years jail. Johnny is just “on loan” to
the federal system and is presently serving his state jail sentence even though currently in federal
custody. This seems unfair. Because of the vagaries of being tried first by State court and not
Federal authorities, Johnny cannot get credit for the two years he spent in State custody. (Had he

been tried in Federal Court first, it’s unlikely State would have prosecuted him at all.)

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He suffers from psychological ailments that include depression, anxiety and ADHD and has
already tried to kill himself twice.

In spite of the crimes he was convicted of committed, this counsel has always found him to be
a considerate, respectful young man, who’s been a pleasure to work for and with.

For a young man who just turned 21, the amount of time probation recommends (30 years) is
extraordinary and excessive. (More than the amount of time he’s been alive so far.) While
Johnny was convicted of possessing weapons and selling narcotics, evidence showed he injured
no one (except for a superficial wound to Natalie Santana’s leg,) and played a less violent role
than others in the conspiracy.

For all of these reasons, counsel urges the court impose the minimum mandatory sentence,
whatever it finds that to be depending on whether it finds Johnny “brandished” or “discharged” a
weapon in furtherance of the conspiracy. A sentence within this range would be stiff, achieve
the aims of sentencing in punishing Johnny and maintaining public confidence in the law, yet
permit Johnny to return to his family while he is still able to carve out a life and find
employment.

Respectfully Submitted,

Toni Messina, Esq.
Attorney for Johnny Nunez-Garcia

 

CC: Ryan Pascablo, AUSA; Michael Ferrara, AUSA

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